(1 of 40), Page 1 of 40       Case: 25-807, 02/13/2025, DktEntry: 23.2, Page 1 of 40




                                                  No. 25-807
                          31II 312 ;181riiBi1      iain Qluurt of qalaealz
                                       fur 312         MM Qlirnuii

                                    STATE OF WASHINGTON et al.,
                                      PLAINTIFFS-APPELLEES,
                                                       v.
                                      DONALD J. TRUMP, et al. ,
                                     DEFENDANTS-APPELLANTS.

                    ON APPEAL FROM THE U.S. DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF WASHINGTON, No. 2:25-cv-127


                 BRIEF OF MEMBERS OF CCNGRESS AS AMICI CURIAE
               IN SUPPORT OF DEFENDANTS-APPELLANTS' EMERGENCY
                                MOTION TO STAY


             JOEL B. AND                                    R.TRENTh4eCOTTER
             ARD LAW GRQUP PLLC                             BQYDEN GRAY PLLC
             P.O. BOX 281                                   800 Connecticut Ave. NW
             Kingston, WA 98346                             Suite 900
             206.701.9243                                   Washington, DC 20006
             Joe1@Alrd.1aw                                  202.955.0620
                                                            tmccottelr@boydenglray.com

                                                            DANIEL Z. EPSTEIN
                                                            AMERICA FIRST LEGAL
                                                            FOUNDATION
                                                            611 Pennsylvania Ave. SE #231
                                                            Washington, DC 20003

                                                            Counsel for Amice Curiae
(2 of 40), Page 2 of 40    Case: 25-807, 02/13/2025, DktEntry: 23.2, Page 2 of 40




                     RULE 26.1 CORPCRATE DISCLOSURE STATEMENT

                    Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure,

             Amice Curiae state they are natural persons and therefore have neither

             any parent corporations nor any shares that could be owned by any
             publicly held corporation.




                                                     i
(3 of 40), Page 3 of 40         Case: 25-807, 02/13/2025, DktEntry: 23.2, Page 3 of 40




                                               TABLE OF CONTENTS

             TABLE OF AUTHORITIES .....................................................................iii
             IDENTITY AND INTEREST OF THE AMICI CURIAE .........................1
             SUMMARY OF THE ARGUMENT .......................................................... 2
             ARGUMENT ............................................................................................. 6
             I.      English Law...................................................................................... 6

             II.    The Understanding of Citizenship During the Drafting of the
                    Fourteenth Amendment ................................................................... 7

             III. Post-Ratification Understanding of Scholars and the
                  Supreme Court ............................................................................... 1 5

             IV.     Plaintiffs Overhead Wong Kim Ark ................................................ 21

             v.     Contemporary Scholars Support the Federal Government's
                    View ................................................................................................ 25

             VI. "Subject to the Jurisdiction Thereof" Cannot Mean "Subject
                 to the Laws Thereof" ...................................................................... 28
             CONCLUSION ........................................................................................ 31




                                                                  ii
(4 of 40), Page 4 of 40         Case: 25-807, 02/13/2025, DktEntry: 23.2, Page 4 of 40




                                           TABLE OF AUTHORITIES
                                                                                                        Page(s)
             Cases
             CalvinS Case,
               (1608) 77 Eng. Rep. 377. ................................................................... 6, 7
             Elk U. Wilkins,
                112 U.s. 94 (1884) ......................................................................... 19, 20
             Fitisemanii U. United States,
                1 F.4th 862 (10th Cir. 2021) ................................................................. 2
             Hamdi U. Rumsfeld,
               542 U.S. 507 (2004) ....................................................................... 27, 28
             INS U. Pangilinan,
               486 U.S. 875 (1988) ........................................................................... 2, 5
             Kontrick U. Ryan,
               540 U.S. 443 (2004) ............................................................................... 3
             Nunn U. Haze lrigg,
               216 F. 330 (8th Cir. 1914> ................................................................... 13
             Oforji U. Ashcroft,
               354 F.3d 609 (7th Cir. 2003) ............................................................... 27
             Plyler U. Doe,
                457 U.S. 202 (1982) ............................................................................. 24
             Ex Parte Qiiirin,
               317 U.S. 1 (1942)................................................................................. 29
             The Schooner Exchange U. MeFaddon,
               11 U.s. (7 Crank.) 116 (1812) ........................................................... 22
             Tiiaiia U. United States,
                788 F.3d 300 (D.C. Cir. 2015) ..................................... 2,3,6,23,26,27
             United States U. Ginsberg,
               243 U.S. 472 (1917) ........................................................................... 1, 5
             United States U. Wong Kim Ark,
               169 U.S. 649 (1898) ......................................................... 4,6,18,21-26




                                                               iii
(5 of 40), Page 5 of 40          Case: 25-807, 02/13/2025, DktEntry: 23.2, Page 5 of 40




             Weeder U. Chin Bow,
               274 U.S. 657 (1927) ............................................................................... 8
             Statutes
             8 U.S.C. § 1401 ........................................................................................ 31
             8 U.S.C. § 1408 .......................................................................................... 2
             1 Stat. 137 (1790) .................................................................................... 12
             10 Stat. 604 (1855) .................................................................................... 8
             14 Stat. 27 (1866) ...................................................................................... 9
             43 Stat. 253 (1924) .................................................................................. 12
             Other Authorities
             Cong. Globe, 39th Cong., 1st Sess. (1866) .............................. 9,10,11,14
             H.R. Rep. No. 43-784 (1874).................................................................... 17
             Protecting the Meaning and Value of American Citizenship,
               Exec. Order (Jan. 20, 2025) ................................................................ 23
             14 Op. Att'ys Gen. 295 (1873) ........................................................... 16, 17
             Diplomatic and Consular Immunity, U.S. Dep't of State, July
                2019, https://www.state.gov/wp-
                content/uploads/2019/07/2018-DipConlmm_v5_Web.pdf .................. 29
             Patrick J. Charles, Representation Without Documentation?.°
               Unlawfully Present Aliens, Apportionment, the Doctrine of
               Allegiance, and the Law, 25 BYU J. Pub. L. 35 (2011) ...................... 1 9
             George D. Collins, Are Persons Born Within the United
               States Ipso Facto Citizens Thereof?, 18 Am. L. Rev. 831
               (1884)................................................................................................... 1 8
             Roberto Courtney, Eur. Univ. Inst., Report on Citizenship
               Law: Nicaragua (May 2015),
               https://core.ac.uk/download/pdf/45685706.pdf ................................... 1 5
             Samuel Estreicher & David Moosmann, Birthright
               Citizenship for Children of Unlawful U.S. Immigrants
               Remains an Open Question, Just Sec. (Nov. 20, 2018),
               https://www.justsecurity.org/61550/birthright-citizenship-
               children-unlawful-u-s-immigrants-remains-open-question/..                                         5, 7, 25


                                                                   iv
(6 of 40), Page 6 of 40          Case: 25-807, 02/13/2025, DktEntry: 23.2, Page 6 of 40




             James C. Ho, Defining American,' 9 Green Bag 2d 367
                (2006)................................................................................................... 28
             Henio Hoyo, Eur. Univ. Inst., Report on Citizenship Law:
                Honduras (Apr. 2016),
               https://cadmus.eui.eu/bitstream/handle/1814/40848/EUD
                O_CIT_CR_2016_06.pdf ..................................................................... 15
             G.M. Lambertson, Indian Citizenship, 20 Am. L. Rev. 183
                (1866)................................................................................................... 19
             Robert E. Mensel, Jurisdiction in Nineteenth Century
                International Law and Its Meaning in the Citizenship
                Clause of the Fourteenth Amendment, 32 St. Louis U. Pub.
                L. Rev. 329 (2013) ............................................................... 7-10, 13-15
             Samuel F. Miller, Lectures on the Constitution (1891) ........................... 20
             Alexander Porter Morse, A Treatise on Citizenship (1881) .................... 17
             Amy Swearer, Subject to the [Complete] Jurisdiction Thereof:
                Salvaging the Original Meaning of the Citizenship Clause,
                24 Tex. Rev. L. & Pol. 135 (2019) ............................... 10, 13, 21, 24, 25
             Francis Wharton, A Treatise on the Conflict of Laws (2d ed.
               1881) .............................................................................................. 18, 25
             Nationality, Gov 't of Colombia,
               https://www.cancilleria.gov.co/tramites_servicios/nacionali
               dad ....................................................................................................... 15
             Venezuela Constitution Ch. II, § 1, art. 32 ............................................. 15




                                                                    V
(7 of 40), Page 7 of 40    Case: 25-807, 02/13/2025, DktEntry: 23.2, Page 7 of 40




                      IDENTITY AND INTEREST OF THE AMICI CURIAE1

                    Amice are 18 members of Congress who serve on the Committee on

             the Judiciary of the U.S. House of Representatives. Chairman Jim
             Jordan leads this coalition and is joined by Reps. Andy Biggs, Chip Roy,

             Brandon Gill, Troy Nehls, Lance Gooden, Victoria Spartz, Mark Harris,

             Scott Fitzgerald, Robert Order, Harriet M. Hageman, Tom McClintock,

             Wesley Hunt, Glenn Grothman, Ben Cline, Russell Fry, Michael
             Baumgartner, and Brad Knott.

                    Amice have a strong interest in the outcome of this case because

             Congress, as a co-equal branch of government, has an interest in the
             courts upholding the Constitution. Specifically, the historical record
             confirms that the Fourteenth Amendment does not confer citizenship on

             the children of aliens unlawfully present in the United States.

                    Because of this, "[a]n alien who seeks political rights as a member

             of this Nation can rightfully obtain them only upon terms and conditions

             specified by Congress," United States U. Ginsberg, 243 U.S. 472, 474


             1 Amice have filed a motion for leave to file this brief. No party opposes
             leave to file. No counsel for any party has authored this brief in whole or
             in part, and no entity or person, aside from amice curiae and its counsel,
             made any monetary contribution intended to fund the preparation or
             submission of this brief.

                                                    1
(8 of 40), Page 8 of 40    Case: 25-807, 02/13/2025, DktEntry: 23.2, Page 8 of 40




             (1917), but Congress has never granted citizenship to the children of
             aliens unlawfully present, see also 8 U.S.C. § 1408. Thus, the other
             branches are forbidden from conferring such citizenship on their own, a

             limitation that the Executive Order ensures is followed within the
             executive branch. See also INS U. Pangilinan, 486 U.S. 875, 885 (1988)
             ("Neithelr by application of the doctrine of estoppel, noir by invocation of

             equitable powers, nor by any other means does a court have the power to

             confer citizenship in violation of these limitations.") .

                    The Court should grant Defendants-Appellants' motion to stay in

             part the District Court's preliminary injunction.
                                SUMMARY OF THE ARGUMENT

                    The Fourteenth Amendment confers citizenship on any person who

             is both (1) "born or naturalized in the United States" and (2) "subject to

             the jurisdiction thereof." U.S. Const. amend. XIV. Each requirement
             invokes specialized terms of art. The first clause has been construed to

             exclude those born in U.S. territories, despite being literally "in" the
             United States.2 And "jurisdiction" in the second clause (the "Jurisdiction



             2See Fitisemanu U. United States, 1 F.4th 862, 877 (10th Cir. 2021),
             Tuaua U. United States, 788 F.8d 300 (D.C. Cir. 2015).

                                                     2
(9 of 40), Page 9 of 40     Case: 25-807, 02/13/2025, DktEntry: 23.2, Page 9 of 40




             Clause") invokes the historic doctrine of "ligeantia," meaning the person

             must owe direct and exclusive allegiance to the sovereign, which in turn

             must consent to the pelrson's presence.

                    Notably, the Jurisdiction Clause does not say that the person must

             be subject to the laws of the United States, but rather subject to its

              jurisdiction. The distinction matters. Even in modern caselaw and

             statutes, "lj]ulrisdiction      is a word of many, too many, meanings,     79




             Kontrick U. Ryan, 540 U.S. 443, 454 (2004), SO it should come as no

             surprise that the meaning of that term in an amendment written nearly
             160 years ago would be nuanced and invoke pre-existing doctrines.

                    As the D.C. Circuit has held, "birthright citizenship does not simply

             follow the flag." Tuaua, 788 F.3d at 305. Rather, "the evident meaning of

             the words 'subject to the jurisdiction thereof' is, not merely subject in
             some respect or degree to the jurisdiction of the United States, but
             completely subject to their political jurisdiction, and owing them direct

             and immediate allegiance." Id. (quoting Elk U. Wilkins, 112 U.S. 94, 102

             (1884)) (cleaned up).

                    There is widespread agreement that the Jurisdiction Clause means

             that children born in the United States to ambassadors or invading


                                                      3
(10 of 40), Page 10 of 40   Case: 25-807, 02/13/2025, DktEntry: 23.2, Page 10 of 40




             soldiers would not receive citizenship under the Fourteenth Amendment.

             The best reason is because they do not owe total allegiance to the United

             States, rather than (as Plaintiffs contend) because those groups allegedly

             have immunity from federal law (in fact, they do not have unconditional

             immunity, as explained below). As explained in more detail below, there

             is a wealth of support for the proposition that the Clause applies the same

             to children of those illegally present in the country because they (like
             ambassadors and foreign soldiers) do not owe total allegiance to the
             United States, they remain citizens of their home countries, to whom they

             owe at least divided allegiance and which often imposes birthright
             citizenship of its own on the children born to its nationals in the United

             States. Allegiance is also a reciprocal relationship. The person must be

             present with the consent of the sovereign, a factor on which the Supreme

             Court extensively relied in United States U. Wong Kim Ark, 169 U.S. 649

             (1898). But illegal aliens and their children are present in the United
             States without consent, i.e., only by defying its laws.

                    Early English caselaw supports this concept of total allegiance and

             its role in citizenship, and even the Senators who drafted and debated

             the Jurisdiction Clause stated that children of "aliens" or others "owing


                                                      4
(11 of 40), Page 11 of 40   Case: 25-807, 02/13/2025, DktEntry: 23.2, Page 11 of 40




             allegiance to anybody else" would not receive citizenship. That
             understanding extended for decades after the ratification of the
             Fourteenth Amendment. And some modern scholars argue that the "core

             purpose of the citizenship clause [was] to include in the grant of
             birthright citizenship all who are lawfully in the United States," and
             scholars have also distinguished the caselaw on which Plaintiffs 1rely.3

                    Because the Fourteenth Amendment does not confer citizenship on

             the children of illegally present aliens, and because Congress has not
             done SO by statute, the other branches cannot confer such citizenship on

             their own. See Pangilinan, 486 U.S. at 885, Ginsberg, 248 U.S. at 474.

             The Executive Order at issue here properly ensures that rule is followed

             within the executive branch, and thus the Court should grant
             Defendants-Appellants' emergency motion for a partial stay of the
             District Court's preliminary injunction, which also suffers from
             numerous jurisdictional and scope-of-relief issues, as Defendants-
             Appellants explain in their emergency motion.


             3   Samuel Estreicher & David Moosmann, Birthright Citizenship for
             Children of Unlawful US. Immigrants Remains an Open Question, Just
             Sec. (Nov. 20, 2018), https://www.justsecu1rity.o1rg/61550/bi1rth1right-
             citizenship-children-unlawful-ws-immigrants-lremainsopen-question/.

                                                      5
(12 of 40), Page 12 of 40   Case: 25-807, 02/13/2025, DktEntry: 23.2, Page 12 of 40




                                              ARGUMENT

             I.     English Law.
                    In Calvin's Case-which the Supreme Court later cited in Wong

             Kim Ark, discussed below-Lord Coke explained what made someone
             subject to the jurisdiction of English courts. Calvin's Case (1608) '77 Eng.

             Rep. 377, 885. He noted that "it is nec ccelum, nec solar, neither the
             climate nor the soil, but ligeantia [allegiance] and obedientia [obedience]
             that make" one "subject" to the laws of the country. Id. Jurisdiction in
             that sense does not turn simply on whether the person was present
             within the territory or subject to its laws, but whether he owed allegiance
             to the sovereign. As the D.C. Circuit has explained, Calvin's Case means

             "[t]hose born 'within the King's domain' and 'within the obedience or
             ligeance of the King' were subjects of the King, or 'citizens' in modern

             parlance." Tuaua, 788 F.8d at 804 (quoting 77 Eng. Rep. at 399).

                    Lord Coke cited several prior cases to make the point. Most notable

             was Perkin Warbeckis Case, where a Dutchman declared himself the

             rightful heir to the English throne, then traveled to England in an
             attempt to take the throne. He was captured, but the English court
             concluded he "could not be punished by the common law" because he was



                                                      6
(13 of 40), Page 13 of 40   Case: 25-807, 02/13/2025, DktEntry: 23.2, Page 13 of 40




             not subject to the civil courts' jurisdiction. Calvin's Case, 77 Eng. Rep. at

             384. There was no state of war between the countries, but his mere
             presence was unlawful, and thus he had never been under the "protection

             of the King, nor ever owed any manner of ligeance unto him." Id.

                    As Professor Estreicher explains, "Walrbeck's very setting foot on

             English soil as a pretender to the throne made him a criminal in the eyes

             of English law, one who had never claimed the protection of the king by

             virtue of his lawful presence in the realm. Thus, it was the illegality of

             Walrbeck's presence that placed him outside of the ordinary jurisdiction

             of English law." Estreicher, supra note 3.

             11.    The Understanding of Citizenship During the Drafting of
                    the Fourteenth Amendment.
                    The concept that "jurisdiction" included two concepts-i.e., being
             subject to a nation's laws but also holding allegiance to the sovereign-

             continued into international relations and American practice in the
             leadup to the Fourteenth Amendment.

                    "The status of dual allegiance, ordinary as it seems today, seemed

             anomalous and inappropriate" in the 18603, as "the general view was that

             'no one can have two countlries."' Robert E. Mensel, Jurisdiction in
             Nineteenth Century International Law and Its Meaning in the Citizenship


                                                      7
(14 of 40), Page 14 of 40   Case: 25-807, 02/13/2025, DktEntry: 23.2, Page 14 of 40




             Clause of the Fourteenth Amendment, 82 St. Louis U. Pub. L. Rev. 329,

             334 (2013). Thus, at the time of the Fourteenth Amendment's drafting

             and ratification, the term "'immiglration status'              would have been
             meaningless" because the United States had only minimal immigration

             laws in the modern sense, and instead the crucial inquiry was "the
             parents' allegiance to a foreign country." Id.

                    That is because the general, albeit not completely uniform, rule at

             the time was that citizenship of a child followed the parents' citizenship,

             and their original sovereign would often "claim[] the allegiance of the

             child" regardless of where he was born, as "British law at the time plainly

             did." Id. at 358. United States law was the same: in 1855, Congress
             enacted a law dictating that "persons heretofore born, or hereafter to be
             born, out of the limits and jurisdiction of the United States, whose fathers

             were or shall be at the time of their birth citizens of the United States,
             shall be deemed and considered and are hereby declared to be citizens of

             the United States," except for "persons whose fathers never resided in the

             United States." Ch. '71, 10 Stat. 604 (1855), see Weedier U. Chin Bow, 274

             U.S. 657, 659 (1927). Accordingly, "in 1866                a foreigner could be




                                                      8
(15 of 40), Page 15 of 40   Case: 25-807, 02/13/2025, DktEntry: 23.2, Page 15 of 40




             domiciled in the United States but remain subject to a foreign power.       79




             Mensel, supra, at 356.

                    With this background, the terminology used by the drafters of the

             Jurisdiction Clause makes more sense to modern readers.

                    The history of the Jurisdiction Clause begins with the Civil Rights

             Act of 1866, which stated: "[A]11 persons born in the United States and

             not subject to any foreign power, excluding Indians not taxed, are hereby

             declared to be citizens of the United States." Ch. 31, 14 Stat. 27, 27 (1866)

             (emphasis added). Senator John Bingham, a principal author of the
             future Fourteenth Amendment, said this provision meant that "every
             human being born within the jurisdiction of the United States of parents

             not owing allegiance to any foreign sovereignty" would be a citizen. Cong.

             Globe, 39th Cong., 1st Sess. 1291 (1866) (emphasis added). This invoked

             the concept of total allegiance to the United States-a concept defeated
             if the parents (and thus their child) owed any allegiance to their home
             country.

                    There were, however, serious doubts whether Congress had
             constitutional authority to enact the 1866 Act-President Johnson vetoed

             it in part on that basis, but the veto was overridden-and so "it was clear


                                                      9
(16 of 40), Page 16 of 40   Case: 25-807, 02/13/2025, DktEntry: 23.2, Page 16 of 40




             to many in the Republican majority that a constitutional amendment
             would be needed to give the Civil Rights Act a solid foundation on which

             to survive future legal challenges." Amy Swearer, Subject to the
             [Complete] Jurisdiction Thereof: Salvaging the Original Meaning of the

             Citizenship Clause, 24 Tex. Rev. L. & Pol. 185, 147-48 (2019).
             Accordingly, it "cannot be seriously doubted" that what would become the

             Jurisdiction Clause was intended to have the exact same meaning as the

             Act, which referenced foreign allegiance. Id. at 147.

                    The earliest draft of the Fourteenth Amendment originally included

             no citizenship clause, but in May 1866, Senator Benjamin Wade sought

             to replace the word "citizen" in the privileges-or-immunities clause with

             the phrase "persons born in the United States or naturalized by the laws
             thereof." Cong. Globe, 39th Cong., 1st Sess. 2768 (1866). This prompted

             a discussion of whether that was actually the proper definition of
             "citizen." See Mensel, supra, at 362-63.

                    Senator Jacob Howard, a sponsor of the Fourteenth Amendment,
             soon proposed a new clause that invoked the historic term of art
             "julrisdiction": "[A]11 persons born in the United States, and subject to the




                                                     10
(17 of 40), Page 17 of 40   Case: 25-807, 02/13/2025, DktEntry: 23.2, Page 17 of 40




             jurisdiction thereof, are citizens of the United States and of the States
             wherein they reside." Cong. Globe, 39th Cong., 1st Sess. 2890 (1866).

                    Importantly, Howard explained that "[t]his will not, of course,
             include persons born in the United States who are foreigners, aliens, who

             belong to the families of embassadors [sic] or foreign ministers accredited

             to the Government of the United States, but will include every other class

             of persons." Id. This express reference to "aliens" suggests that even the

             drafter did not believe it would apply only narrowly to children of
             ambassadors, who are listed separately.

                    The primary focus of debate during this time was whether the
             Jurisdiction Clause would extend to Indians, who were not expressly
             mentioned in the Clause. Senator Edgar Cowan noted that "[i]t is
             perfectly clear that the mere fact that a man is born in the country has
             not heretofore entitled him to the right to exercise political power." Id. at

             2890. "[S]ojourners" or "tlravelelrs," for example, have a "right to the
             protection of the laws, but he is not a citizen in the ordinary acceptance

             of the word." Id. The right to protection of the laws invoked the narrower

             sense of jurisdiction, but to become a citizen, something more was
             required.


                                                     11
(18 of 40), Page 18 of 40    Case: 25-807, 02/13/2025, DktEntry: 23.2, Page 18 of 40




                     Senator Lyman Trumbull, who was Chair of the Senate Judiciary

             Committee and seen as the Senate expert on the closely aligned Civil
             Rights Act of 1866, was asked what the Jurisdiction Clause meant in this

             context. He replied: "What do we mean by 'subject to the jurisdiction of

             the United States?' Not owing allegiance to anybody else. That is what it

             means." Id. at 2893. He further stated: "subject to the jurisdiction

             thereof'       means 'subject to the complete jurisdiction thelreof."' Id. Any

             divided loyalty meant no citizenship, just as it did in the Civil Rights Act

             of 1866.

                     Applying that test to Indians was seen as so straightforward that

             the dirafteirs decided against including an express exception for "Indians

             not taxed," as they had done in the 1866 Act and would also do in Section

             Two of the Fourteenth Amendment. Federal law had long applied to
             Indians, see, et., 1 Stat. 137 (1790), but they owed at least partial loyalty

             to their tribes-and thus the Jurisdiction Clause unambiguously meant
             the Fourteenth Amendment would not confer citizenship on their
             children. Congress later granted Indians citizenship via statute,4 but
             until that time, "the Indians were regarded as alien people residing in

             4   See, et., Ch. 233, 43 Stat. 253 (1924).

                                                      12
(19 of 40), Page 19 of 40   Case: 25-807, 02/13/2025, DktEntry: 23.2, Page 19 of 40




             the United States" and thus "were not 'born in the United States and
             subject to the jurisdiction thelreof,' within the meaning of the fourteenth

             amendment of the Constitution." Nunn U. Haze lrigg, 216 F. 330, 332-33
             (sth Cir. 1914).

                    As modern scholars have recognized, "Senator Trumbull and those

             who agreed with him spoke of the jurisdiction arising from allegiance.      79




             Mensel, supra, at 369. Thus, everyone recognized the narrow form of
             jurisdiction, meaning entitlement to protection of the laws. But it "is clear

             that the men who drafted and passed the Citizenship Clause
             recognized a second degree of subjection to a countlry's jurisdiction-a

             subjection to its 'complete' jurisdiction in ways more closely associated

             with the rights, duties, and deeply rooted natural allegiance inherent to

             long-term residence in, and meaningful interaction with, a particular
             society." Swearer, supra, at 150. And that more complete form of
             jurisdiction was needed for citizenship. Merely being born in the United

             States and being subject to its laws was insufficient. If the parents or
             child had divided allegiances, the child would not be a U.S. citizen under

             the Jurisdiction Clause.




                                                     13
(20 of 40), Page 20 of 40   Case: 25-807, 02/13/2025, DktEntry: 23.2, Page 20 of 40




                    That approach directly tracked the Civil Rights Act of 1866, which

             the Jurisdiction Clause constitutionalized, as noted above. Recall that

             Act excluded those who "ow[e] allegiance to any foreign sovereignty.       79




             Cong. Globe, 39th Cong., 1st Sess. 1291 (1866). That same limitation was

             carried into the Jurisdiction Clause, except the latter was stated
             affirmatively vis-a-vis the United States (i.e., must owe allegiance to the

             United States), whereas the Act had been stated negatively vis-a-vis
             foreign sovereigns (i.e., cannot owe allegiance to another sovereign). But

             they meant the same thing.

                    As noted, the most common example at the time of someone who

             lacked complete allegiance to the United States would be the children of

             Indians, but the same "rationale that excluded the children of Indians
             would exclude the children of Europeans, born in the United States, if

             the European power involved claimed the allegiance of the child,"
             which-most notably-"British law at the time plainly did." Mensel,
             supra, at 358. Because no one could owe allegiance to two sovereigns at

             that time (see supra), such children could not claim total allegiance to the

             United States and thus would not be citizens under the Fourteenth




                                                     14
(21 of 40), Page 21 of 40   Case: 25-807, 02/13/2025, DktEntry: 23.2, Page 21 of 40




             Amendment, just as they would not be citizens under the Civil Rights Act

             of 1866.5

                    This focus on allegiance continued in the years immediately after

             the Fourteenth Amendment was ratified, as explained next.6

             111.   Post-Ratification Understanding of Scholars and the
                    Supreme Court.
                    In the years immediately after ratification of the Fourteenth
             Amendment, scholars and the Supreme Court viewed the Jurisdiction


             5 Even now, many countries claim children born abroad to citizens. See,
             e.g., Venezuela Constitution Ch. II, § 1, art. 82 ("Are Venezuelans by
             birth: Any person who was born in a foreign territory, and is the child
             of a father and mother who are both Venezuelans by birth."), Nationality,
             Gov 't of Colombia, https://www.cancilleria.gov.co/tramites_servicios/
             nacionalidad (Article 96 of the Colombian Political Constitution deems
             "Colombian nationals by birth" those "[c]hildren of a Colombian father or
             mother who were born in a foreign land and then resided in Colombian
             territory or registered in a consular office of the Republic"), Henio Hoyo,
             Eur. Univ. Inst., Report on Citizenship Law: Honduras 5 (Apr. 2016),
             https://cadmus.eui.eu/bitstream/handle/1814/40848/EUI)O_CIT_CR_20
             16_06.pdf (Honduran Constitution awards "ins sangiiinis for children
             born abroad to those born from Honduran citizens by birth"), Roberto
             Courtney, Eur. Univ. Inst., Report on CitizensNip Law: Nicaragua 4-5
             (May 2015), https://core.ac.uk/downloadjpdf/45685706.pdf (Nicaraguan
             law grants citizenship to "the children of Nicaraguans born overseas
             regardless of any other nationalities they may have.").
             6 For those who may wish to consider contemporaneous public discussion
             of the Jurisdiction Clause, unfortunately "there was little in the
             newspapers on the technical issue of jurisdiction within the meaning of
             the citizenship clause." Mensel, supra, at 372.

                                                     15
(22 of 40), Page 22 of 40   Case: 25-807, 02/13/2025, DktEntry: 23.2, Page 22 of 40




             Clause as extending well beyond children of ambassadors and foreign

             soldiers, confirming the view that "jurisdiction" was a term of art
             referring to a specific type of relationship between the individual and the

             sovereign.
                    In 1872, just four years after ratification, the Supreme Court noted

             that "[t]he phrase, 'subject to its jurisdiction' was intended to exclude
             from its operation children of ministers, consuls, and citizens or subjects

             of foreign States born within the United States." Slaughter-House Cases,

             83 U.S. 36, 73 (1872) (emphasis added). To be sure, this was likely dicta,

             but it reflected the contemporaneous understanding that the Jurisdiction

             Clause was not a narrow exception solely for "ministelrs," "consuls," and

             invading soldiers, but applied also to children whose parents remained
             citizens of another country. All of these groups had one thing in common:

             they lacked total allegiance to the United States.
                    One year later, the U.S. Attorney General (who had been a Senator

             during the debates over the Fourteenth Amendment) issued a formal
             opinion explaining that "[t]he word 'julrisdiction' must be understood to

             mean absolute or complete jurisdiction, such as the United States had

             over its citizens before the adoption of this amendment." 14 Op. Att'ys


                                                     16
(23 of 40), Page 23 of 40   Case: 25-807, 02/13/2025, DktEntry: 23.2, Page 23 of 40




             Gen. 295, 300 (1873). "Aliens, among whom are persons born here and

             naturalized abroad, dwelling or being in this country, are subject to the

             jurisdiction of the United States only to a limited extent. Political and

             military rights and duties do not pertain to them." Id. Again, note the
             two different forms of "julrisdiction."

                    The next year, the House of Representatives issued a report stating

             that "[t]he United States have not recognized a 'double allegiance' By our

             law a citizen is bound to be 'true and faithful' alone to our Government.  79




             H.R. Rep. No. 43-784, at 23 (1874). This again equates citizenship with

             the concept of total allegiance, not mere partial allegiance by the
             individual, nor partial authority by the sovereign over that individual.

                    The 1881 A Treatise on Citizenship by Alexander Porter Morse

             adopted the Attorney Genelral's 1873 view, reiterating that "[a]1iens,
             among whom are persons born here and naturalized abroad, dwelling or

             being in this country, are subject to the jurisdiction of the United States

             only to a limited extent," and thus their children would not be citizens.

             Alexander Porter Morse, A Treatise on Citizenship § 198, at 237-38

             (1881).




                                                     17
(24 of 40), Page 24 of 40   Case: 25-807, 02/13/2025, DktEntry: 23.2, Page 24 of 40




                    Contemporary scholars further confirmed that "jurisdiction" had

             two meanings, one limited and one more complete. Francis Whalrton's
             1881 edition of A Treatise on the Conflict of Laws recognized that "[i]n

             one sense" a child born in the United States is necessarily subject to its

             jurisdiction in the simple sense that "[a]ll foreigners are bound to a local

             allegiance to the state in which they sojourn." Francis Wharton, A
             Treatise on the Conflict of Laws § 10, at 34-35 (2d ed. 1881). "Yet the term

             'subject to the julrisdiction,' as above used, must be construed in the sense

             in which the term is used in international law as accepted in the United

             States as well as in Europe." Id. § 10, at 35. And "by this law the children

             born abroad of American citizens are regarded as citizens of the United

             States, with the right, on reaching full age, to elect one allegiance and
              repudiate the other, such election being final. The same conditions apply

             to children born of foreigners in the United States." Id.

                    George Collins, who was later appointed amicus in Wong Kim Ark,

             explained in 1884 that "[t]he phrase         'subject to the jurisdiction thereof'

             does not mean territorial jurisdiction, as has been held in some cases, but

             means national jurisdiction, that is the jurisdiction which a nation
             possesses over those who are its citizens or subjects as such." George D.


                                                     18
(25 of 40), Page 25 of 40   Case: 25-807, 02/13/2025, DktEntry: 23.2, Page 25 of 40




             Collins, Are Persons Born Within the United States Ipso Facto Citizens

             Thereof?, 18 Am. L. Rev. 881, 837 (1884).7

                    In 1884, the Supreme Court decided Elk U. Wilkins, 112 U.S. 94,

             which held that Indians were not citizens under the Fourteenth
             Amendment, as they owed allegiance to their tribes. The Court held that

             the "evident meaning" of the Jurisdiction Clause was that a person was

             "not merely subject in some respect or degree to the jurisdiction of the

             United States, but completely subject to their political jurisdiction, and
             owing them direct and immediate allegiance." Id. at 102 (emphasis
             added).

                    Moving beyond the context of Indians, the Court explained that the

             Fourteenth Amendment would confer citizenship only on those children

             whose parents are "owing no allegiance to any alien power." Id. at 101.

             7   Numerous other contemporaneous law articles reiterated that
             jurisdiction meant a reciprocal relationship, with the individual owing
             total allegiance to the sovereign, which consented to that person's
             presence. '"[B]orn in the United States' means born, not alone on the soil
             of the United States, but within its allegiance    To be a citizen of the
             United States is a political privilege, which no one not born in it can
             assume, without its consent in some form." G.M. Lambertson, Indian
             Citizenship, 20 Am. L. Rev. 183, 185 (1866), see Patrick J. Charles,
             Representation Without Dociilnentation?: Unlciwfiilly Present Aliens,
             Apportionment, the Doctrine of Allegiance, and tNe Law, 25 BYU J. Pub.
             L. 35, '72 (2011) (collecting authorities).

                                                     19
(26 of 40), Page 26 of 40   Case: 25-807, 02/13/2025, DktEntry: 23.2, Page 26 of 40




             But "an emigrant from any foreign state cannot become a citizen of the

             United States without a formal renunciation of his old allegiance, and an

             acceptance by the United States of that renunciation through such form

             of naturalization as may be required law." Id. Again, note the concepts of

             total allegiance by the individual and an "acceptance by the United
             States." Id. "Jurisdiction" in the Jurisdiction Clause invoked that
             reciprocal relationship.

                    In lectures posthumously published in 1891, Supreme Court Justice

             Samuel Miller likewise explained the Jurisdiction Clause extended
             beyond mere ambassadors: "If a stranger or travelled passing through, or

             temporarily residing in this country, who has not himself been
             naturalized, and who claims to owe no allegiance to our Government, has

             a child born here which goes out of the country with its father, such child

             is not a citizen of the United States, because it was not subject to its
             jurisdiction." Samuel F. Miller, Lectures on the Constitution 279 (1891).

                    Given this body of evidence, modern scholars have recognized there

             was "significant agreement among contemporary legal scholars" and
             "Executive Branch officials during this same time, including Secretaries

             of State," that the Jurisdiction Clause invoked the concept of total


                                                     20
(27 of 40), Page 27 of 40   Case: 25-807, 02/13/2025, DktEntry: 23.2, Page 27 of 40




             allegiance to the United States. Swearer, supra, at 169-72 (collecting

             additional examples) .

             IV.    Plaintiffs Overhead Wong Kim Ark.

                    Plaintiffs chiefly rely on the Supreme Coulrt's decision in United

             States U. Wong Kim Ark, 169 U.S. 649 (1898), but their reliance is

             misplaced because-as explained below-the Court tied allegiance to
             whether the United States had "permitted" or "consent[ed]" to the
             parents being permanently present in the United States at the time of
             the child's birth, id. at 684, 686, 694. Illegal aliens, by definition, are not

             present with the consent of the United States, and accordingly it makes
             little sense to argue that Wong Kim Ark dictates citizenship for their
             children.
                    Wong Kim Ark involved a person who was born in the United States

             to alien parents who, at the time of the child's birth, "enjoy[ed] a
             permanent domicile and residence" in the United States, with the
             sovelreign's permission. Id. at 652. The Court held that such a child
             "becomes at the time of his birth a citizen of the United States." Id. at
             705. Invoking the old concept of allegiance, the Court held that foreigners

             present in the United States "are entitled to the protection of and owe


                                                     21
(28 of 40), Page 28 of 40   Case: 25-807, 02/13/2025, DktEntry: 23.2, Page 28 of 40




             allegiance to the United States, so long as they are permitted by the
             United States to reside here." Id. at 694 (emphasis added) .

                    Continuing with the theme of sovereign consent as an aspect of
             allegiance, the Court held it was "incontiroveirtible" that "the jurisdiction

             of every nation within its own territory is exclusive and absolute" and
             may only be qualified by the "consent, express or implied," of the
             sovereign. Id. at 686. That traced Chief Justice Malrshall's opinion in The

             Schooner Exchange U. McFaddon, 11 U.S. (7 Cranch.) 116 (1812), which

             addressed the rights of Americans whose ship had been seized at sea by

             Napoleon's agents and then sailed into Philadelphia under a French flag.

             Id. at 117-18. Echoing language later found in the Fourteenth
             Amendment, the Court held that the "jurisdiction of the nation within its

             own territory is necessarily exclusive and absolute," and thus "[a]ll
             exceptions" to it "must be traced up to the consent of the nation itself."
             Id. at 136. Rights could not be gained against the sovereign by those
             acting in defiance of its laws.

                    Wong Kim Ark concluded that foreigners owe the requisite
             allegiance when the United States permits them to be here permanently.

             One need not decide whether Wong Kim Ark was fully correct on that


                                                     22
(29 of 40), Page 29 of 40   Case: 25-807, 02/13/2025, DktEntry: 23.2, Page 29 of 40




             score because the test it imposes still resolves the question here: by
             definition, illegal aliens do not have "consent" to be here, are not
             "permitted" to "reside here," nor have they been given "permanent
             domicile and residence in the United States." Wong Kim Ark, 169 U.S. at

             653, 686, 694.

                    The Executive Order at issue here notably excludes "children of
             lawful permanent residents," Protecting the Meaning and Value of
             American Citizenship, Exec. Order § 2(0) (Jan. 20, 2025), which is the
             modern equivalent to the parents in Wong Kim Ark. The Coulrt's opinion
             extended no further.
                    Plaintiffs rely on a few broad statements in Wong Kim Ark, but
             ironically the opinion itself cautioned against relying on such statements.

             "It is a maxim, not to be disregarded, that general expressions, in every

             opinion, are to be taken in connection with the case in which those
             expressions are used. If they go beyond the case, they may be respected,

             but ought not to control the judgment in a subsequent suit when the very

             point is presented for decision." Wong Kim Ark, 169 U.S. at 679.
             Accordingly, circuit courts across the country have long read Wong Kim

             Ark narrowly, in light of its specific facts. See Tuaua, 788 F.8d at 305


                                                     23
(30 of 40), Page 30 of 40   Case: 25-807, 02/13/2025, DktEntry: 23.2, Page 30 of 40




             (citing Nolos U. Holder, 611 F.3d 279, 284 (5th Cir. 2010), Valmonte U.

             INS, 136 F.8d 914, 920 (Qd Cir. 1998), Rabang v. INS, 35 F.3d 1449, 1454

             (9th Cir. 1994>.

                    One final note: Justice John Marshall Harlan-the patron of
             interpreting the Constitution as color-blind and the sole dissenter in
             Plessy U. Ferguson-joined Chief Justice Fu11e1r's dissent in Wong Kim

             Ark, arguing that Wong "never became and is not a citizen of the United

             States." Wong Kim Ark, 169 U.S. at 732 (Fuller, C.J., dissenting). Clearly,
             Justice Harlan viewed the governments position as fully consistent with

             our Nation's commitment to equal protection.8


             8 Plaintiffs' reliance on a footnote in Plyler U. Doe, 457 U.S. 202 (1982), is
             also misplaced. First, the footnote "is dicta referring to dicta," because it
             was unnecessary to the analysis in Plyler itself and also relied on dicta
             from Wong Kim Ark. Swearer, supra, at 198. Second, the Plyler footnote
             mentioned the same limitations that were present in Wong Kim Ark, i.e.,
             the concept that "jurisdiction" is "bounded only, if at all, by principles of
             sovereignty and allegiance."457 U.S. at 212 n.10 (emphasis added).
             Third, there are several textual differences between the equal protection
             clause (at issue in Plyler) and the citizenship clause (at issue here). The
             former refers to persons "within the jurisdiction" of a state, whereas the
             latter clause refers to persons "subject to the jurisdiction" of the United
             States. If the Framers had intended the two to mean the same thing, they
             would have used the same phrase, especially because they used very
             Specific terminology throughout Section One of the Fourteenth
             Amendment. Scholars have argued that "subject to the jurisdiction"
             referred to the concept of "total allegiance" to the national sovereign as

                                                     24
(31 of 40), Page 31 of 40   Case: 25-807, 02/13/2025, DktEntry: 23.2, Page 31 of 40




             v.     Contemporary Scholars Support the Federal Government's
                    View.
                    Modern scholars and jurists have signaled agreement with the
             government's interpretations of the Jurisdiction Clause, Wong Kim Ark,

             or both. As noted above, Professor Estreicher, a nationally renowned
             scholar, has written that reliance on Wong Kim Ark for applying
             birthright citizenship to children of illegal aliens is "misplaced."
             Estreicher, supra note 3. "Wong by its facts (and some of its language) is
             limited to children born of parents who at the time of birth were in the

             United States lawfully and indeed were permanent residents." Id.

                    As Professor Estreicher explains, "the circumstances of Wong Kim

             Ark differ from the unlawful immigration context. Wong's parents were

             clearly permitted to be within the United States at the time of his birth.

             A second respect in which the facts of the case differ is that, unlike for



             discussed above, whereas "within the jurisdiction" referred to the
             separate, "local allegiance to the state in which they sojourn," i.e., the
             state they are "within." Wharton, supra, § 10, at 34-35, see Swearer,
             supra, at 199-200. That tracks the historic discussion recounted above,
             where the Framers and contemporary scholars acknowledged that those
             illegally present might receive protection of the laws and thus were
             subject to a lesser form of jurisdiction, but their children would not
             receive the permanent status and benefits of citizenship because they
             lacked total allegiance.

                                                     25
(32 of 40), Page 32 of 40   Case: 25-807, 02/13/2025, DktEntry: 23.2, Page 32 of 40




             children of unlawful immigrants, there was no U.S. prohibition of Wong's

             presence at time of his birth. His birth and presence within the United

             States was entirely lawful." Id. And that distinction matters given that

             Wong Kim Ark itself repeatedly referred to the importance of the
             sovereign's consent.

                    Modern jurisprudence has likewise rejected the notion that the
             Jurisdiction Clause looks only to whether the child would be subject to

             the laws of the United States. The D.C. Circuit held just a few years ago

             that "the concept of allegiance is manifested by the Citizenship Clause's

             mandate that birthright citizens not merely be born within the territorial

             boundaries of the United States but also 'subject to the jurisdiction
             thelreof."' Tuaua, 788 F.8d at 305. And "the evident meaning of the words

             'subject to the jurisdiction thereof' is, not merely subject in some respect

             or degree to the jurisdiction of the United States, but completely subject

             to their political jurisdiction, and owing them direct and immediate
             allegiance." Id. (quoting Elk, 112 U.S. at 102) (cleaned up) (emphasis in

             original) .

                    Again, this makes clear that the question is not simply whether
             "ultimate governance remains" with "the United States Government,          99




                                                     26
(33 of 40), Page 33 of 40   Case: 25-807, 02/13/2025, DktEntry: 23.2, Page 33 of 40




             e.g., whether the United States has jurisdiction to prosecute the person,

             id. at 306, but rather whether there is a reciprocal relationship where the

             person owes total allegiance to the sovereign, which allows the person to

             be present.

                    Judge Richard Posner, before he retired, also wrote about the
             Jurisdiction Clause, arguing in a concurrence that the interpretation
             espoused by Plaintiffs here "makes no sense," and he "doubt[ed]" it was

             correct even under existing caselaw because many aliens present in the

             United States owe no allegiance to it. Oforji U. Ashcroft, 354 F.3d 609,

             621 (7th Cir. 2003) (Posner, J., concurring). He noted that hundreds of
             thousands of foreign nationals have come to the United States solely to

             give birth, without the slightest hint of owing allegiance to the United
             States. "[T]here is a huge and growing industry in Asia that arranges
             tourist visas for pregnant women SO they can fly to the United States and

             give birth to an American. Obviously, this was not the intent of the 14th

             Amendment, it makes a mockery of citizenship." Id.9


             9 Further, in Hamdi U. Rumsfeld, 542 U.S. 507 (2004), which addressed
             the detention of a man who claimed to be a U.S. citizen, Justices Scalier
             and Stevens wrote separately in part to note that they were merely
             "presume[ing]" the plaintiff to be an "American citizen" for purposes of the


                                                     27
(34 of 40), Page 34 of 40   Case: 25-807, 02/13/2025, DktEntry: 23.2, Page 34 of 40




             VI. "Subject to the Jurisdiction Thereof" Cannot Mean "Subject
                 to the Laws Thereof."
                    As recounted above, the historical record and both contemporary
             and modern scholarship demonstrate that the Jurisdiction Clause looks

             beyond the simple question of whether the person is subject to the laws

             of the United States. There are additional reasons to reject Plaintiffs'
             simplistic view.

                    First, it would have been easy enough to say "subject to the laws" of

             the United States, but instead the drafters used a different term:
             "julrisdiction." That was intentional. And it invoked a term of art with a

             nuanced history and understanding, as explained above. But Plaintiffs

             never provide an answer for why the drafters did not use far simpler
             language if they meant only to invoke the simple concept of being subject

             to U.S. law.

                    Second, the laws surrounding immunity further demonstrate why

             Plaintiffs' interpretation is incorrect. Plaintiffs acknowledge that



             lawsuit, even though he had been born in Louisiana, id. at 554 (Scalia,
             J., dissenting). Hamdi's parents were not U.S. citizens noir lawful
             permanent residents but rather were present in the United States only
             on temporary work visas when Hamdi was born. James C. Ho, Defining
             'Americcm,'9 Green Bag 2d 367, 376 & n.42 (2006).

                                                     28
(35 of 40), Page 35 of 40   Case: 25-807, 02/13/2025, DktEntry: 23.2, Page 35 of 40




             children of ambassadors and invading soldiers are not entitled to
             birthright citizenship under the Fourteenth Amendment. But Plaintiffs
             are wrong to contend that this is because those groups are supposedly
             immune from U.S. law. Federal law does apply at least in part to invading

             soldiers and even more obviously to their newborn children, who would

             not be enemy combatants. See Ex Parte Quiring, 817 U.S. 1, 20 (1942)

             (upholding convictions of German soldiers captured in the United
             States). And U.S. law also applies to most diplomatic officials, as only a

             narrow set has anything approaching full immunity, which itself can
             always be waived case-by-case by the home country. See Diplomatic and

             Consular       Immunity,       U.S.     Dep't      of    State,     July   2019,

             https://www.state.gov/wp-content/uploads/2019/07/2018-

             DipConImm_v5_Web.pdf. Further, there is no diplomatic official who is

             fully immune from all forms of civil liability, i.e., being haled into the
             jurisdiction of a court. See id., App. C (for example, all types of diplomatic

             officials can be issued traffic citations) .

                    This means none of Plaintiffs' examples holds up. Every type of

             person they list as falling within the Jurisdiction Clause is already
             subject to at least some of the laws of the United States, and they could


                                                     29
(36 of 40), Page 36 of 40   Case: 25-807, 02/13/2025, DktEntry: 23.2, Page 36 of 40




             be subjected to even more laws on a case-by-case basis. At best, they have

             qualified, partial, or contingent immunity. Plaintiffs have no way to
             explain how individuals who are clearly subject to at least some of the

             laws of the United States are nonetheless not subject to the laws of the

             United States. The answer is that Plaintiffs' test is just the wrong one.

                    Third, Plaintiffs' interpretation proves too much. If qualified,
             partial, or contingent immunity were sufficient to render diplomatic
             officials not subject to the jurisdiction of the United States, then domestic

             officials who receive such immunity-e.g., judges and prosecutors-
             would likewise not be subject to the jurisdiction of the United States, and

             their children would not be citizens under the Fourteenth Amendment.

             That is wrong, of course. And the reason is because domestic judges and

             prosecutors-unlike ambassadors and invading soldiers-have total
             allegiance to the United States and are present with its consent. They
             are therefore subject to its jurisdiction, and their children born or
             naturalized in the United States are citizens.
                                                    * * *




                                                     30
(37 of 40), Page 37 of 40   Case: 25-807, 02/13/2025, DktEntry: 23.2, Page 37 of 40




                    For all these reasons, the touchstone for birthright citizenship
             under the Fourteenth Amendment is allegiance to the United States,
             rather than merely being subject to its laws or some subset thereof.10

                                             CCNCLUSICN

                    The Court should grant Defendants-Appellants' emergency motion

             to stay in part the District Court's preliminary injunction.
                                                          Respectfully submitted,
                                                          /s/ R. Trent McCotter
                                                          R. TRENT MCCOTTER
                                                          BGYDEN GRAY PLLC
                                                          800 Connecticut Ave. NW
                                                          Suite 900
                                                          Washington, DC 20006
                                                          202.955.0620
                                                          tmccottelr@boydenglray.com

                                                          DANIEL Z. EPSTEIN
                                                          AMERICA FIRST LEGAL FOUNDATION
                                                          611 Pennsylvania Ave. SE #231
                                                          Washington, DC 20003
                                                          202.964.3721
                                                          daniel.epstein@aflega1.olrg

                                                          JOEL B. ARD
                                                          ARD LAW GROUP PLLC
                                                          P.O. BOX 281
                                                          Kingston, WA 98346

             10 Plaintiffs' reliance on statutory citizenship fails because it uses the
             same language as the Jurisdiction Clause. 8 U.S.C. § 1401(a) (requiring
             the person be "subject to the jurisdiction thereof") .

                                                     31
(38 of 40), Page 38 of 40   Case: 25-807, 02/13/2025, DktEntry: 23.2, Page 38 of 40




                                                          206.701.9248
                                                          Joe1@Alrd.1aw

                                                          Counsel for Amice Curiae




                                                     32
(39 of 40), Page 39 of 40   Case: 25-807, 02/13/2025, DktEntry: 23.2, Page 39 of 40




                                 CERTIFICATE OF COMPLIANCE
                    I certify that this motion complies with the typeface requirements
             of Rule 32(a)(5) and the typestyle requirements of Rule 32(a)(6) because

             this brief was prepared in 14-point Century Schoolbook, a proportionally

             spaced typeface, using Microsoft Word. Fed. R. App. P. 29(a), 32(g)(1).

             There is no type-volume limitation for an amicus brief in support of an

             emergency motion. This brief contains 6,386 words. Amice have sought

             leave of Court to file this brief.

                                          /s/ R. Trent McCotter




                                                     33
(40 of 40), Page 40 of 40   Case: 25-807, 02/13/2025, DktEntry: 23.2, Page 40 of 40




                                    CERTIFICATE OF SERVICE
                    I hereby certify that on this date, an electronic copy of the foregoing

             brief was filed with the Clerk of Court for the United States Court of
             Appeals for the Ninth Circuit using the ACMS filing system and that

             service will be accomplished using the ACMS system.

                                          /s/ R. Trent McCotter




                                                     34
